Case 8:11-cr-00356-JSM-AAS Document 231 Filed 12/16/11 Page 1 of 1 PageID 839


                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

UNITED STATES OF AMERICA


vs.                                Case No.      8:11-CR-356-T-30EAJ

BIBAL M. FRANCIS
                               /
                   ACCEPTANCE OF PLEA OF GUILTY
                    AND ADJUDICATION OF GUILT

      Pursuant to the Report and Recommendation of the
United States Magistrate Judge, the plea of guilty of the

Defendant to Counts One, Two and Three of the Indictment
is now accepted and the Defendant is adjudged guilty of
such offenses.

      Sentencing is hereby scheduled for February 22, 2012

at 11:00 A.M.       Counsel of record and/or the United States

Probation      Office    shall     contact     the   courtroom      deputy

should it be anticipated that this hearing will exceed
thirty (30) minutes.

      DONE AND ORDERED at Tampa, Florida this 16 th day of

December, 2011.
